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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                 *

          Plaintiff,                            *

v.                                              *       Case No.: 1:21-CV-00532-SAG

M&T BANK,                                       *

          Defendant.                            *

*         *        *        *    *       *    *    *   *               *      *       *      *
                                        [PROPOSED] ORDER

          This Court having considered the Motion for Other Relief filed by Plaintiff Bryce Carrasco,

the Opposition to the Motion filed by Defendant M&T Bank, and all other considerations made, it

is this        day of                   , 2021, hereby ORDERED that:

          1.       Plaintiff Bryce Carrasco’s Motion for Other Relief (ECF No. 102) is DENIED; and

          2.       The Clerk is hereby instructed to mark ECF No. 102 as “filed in error.”



                                                _____________________________________
                                                The Honorable Stephanie A. Gallagher
                                                Judge, United States District Court




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